Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 1 of 9




     EXHIBIT 4
Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 2 of 9
      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1                  UNITED STATES DISTRICT COURT
  2                  EASTERN DISTRICT OF LOUISIANA
  3
  4    IN RE:    XARELTO (RIVAROXABAN)         MDL No. 2592
       PRODUCTS LIABILITY LITIGATION
  5                                            SECTION L
  6    _____________________________           JUDGE FALLON
  7    THIS DOCUMENT RELATES TO:               MAG. JUDGE NORTH
  8    JOSEPH ORR, JR., AS LAWFUL
       SURVIVING SPOUSE OF SHARYN ORR
  9
       Case No. 2:15-CV-03708
 10
 11
 12      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
 13
 14                          NOVEMBER 28, 2016
 15
 16                                 - - -
 17                  Videotaped deposition of GIANLUCA CERRI,
       M.D., FACEP, FAAEM, held at Perry Dampf Dispute
 18    Solutions, 721 Government Street, Baton Rouge,
       Louisiana, commencing at 9:58 a.m., on the above
 19    date, before Leslie B. Doyle, Certified Court
       Reporter (#93096), Registered Professional Reporter,
 20    Certified Realtime Reporter.
 21
 22                                 – – –
 23                     GOLKOW TECHNOLOGIES, INC.
 24                 877.370.3377 ph|917.591.5672 fax
 25                           deps@golkow.com

Golkow Technologies, Inc.                                               Page 1
Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 3 of 9
      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1    A P P E A R A N C E S:
  2
  3    COUNSEL FOR THE PLAINTIFF:
  4         EMILY C. JEFFCOTT, ESQ.
              Email: Ejeffcott@thelambertfirm.com
  5           Phone: (504) 581-1750
            THE LAMBERT FIRM
  6         701 MAGAZINE STREET
            NEW ORLEANS, LOUISIANA 70130
  7
  8    - AND -
  9         ROGER C. DENTON, ESQ.
               Email: Rdenton@uselaws.com
 10            Phone: (314) 621-6115
            SCHLICHTER, BOGARD & DENTON, LLP
 11         100 S. 4TH STREET, SUITE 900
            ST. LOUIS, MISSOURI 63102
 12
 13    COUNSEL FOR THE JANSSEN DEFENDANTS:
 14         JAMES B. IRWIN, ESQ.
              Email: Jirwin@irwinllc.com
 15         MEERA U. SOSSAMON, ESQ.
              Email: Msossamon@irwinllc.com
 16           Phone: (504) 310-2100
            IRWIN, FRITCHIE, URQUHART & MOORE, LLC
 17         400 POYDRAS STREET, SUITE 2700
            NEW ORLEANS, LOUISIANA 70130
 18
 19    COUNSEL FOR THE BAYER DEFENDANTS:
 20         JEREMY S. BARBER, ESQ.
              Jbarber@wilkinsonwalsh.com
 21         KIM CHANNICK, ESQ.
              Kchannick@wilkinsonwalsh.com
 22           Phone: (202) 847-4000
            1900 M STREET, NW, SUITE 800
 23         WASHINGTON, D.C. 20036
 24
 25    ALSO PRESENT:      MELISSA BARDWELL, VIDEOGRAPHER

Golkow Technologies, Inc.                                               Page 2
Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 4 of 9
      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1    article substantiate your opinion?
  2          A.     I would have to look, read the article.
  3          Q.     The second article, Kiraly, how does that
  4    substantiate your opinion?
  5          A.     That's an author.       I would have to read
  6    the article.
  7          Q.     And what about Raja, R-A-J-A; how does
  8    that substantiate --
  9          A.     Once again, that is an author.           I would
 10    have to read the article.          I'd be glad to go one by
 11    one and discuss them with you.
 12          Q.     Well, looking at this list, can you single
 13    out any article on this list that supports any of
 14    the opinions that you wrote in your expert report?
 15          A.     That is my expert medical opinion, which
 16    is substantiated by other independent findings by
 17    these authors.
 18          Q.     Let me rephrase the question.
 19          A.     Uh-huh.
 20          Q.     You've rendered a number of opinions in
 21    your expert report, correct?
 22          A.     Uh-huh.
 23          Q.     Is that correct?
 24          A.     Yes, sir.
 25          Q.     Can you tell me specifically which

Golkow Technologies, Inc.                                           Page 15
Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 5 of 9
      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1    article, if any, on this list, Cerri #1, supports
  2    any of the specific opinions that you have rendered
  3    in your report?
  4          A.     I'm going to say it again, and I'll be
  5    glad to go through every single article in details.
  6    The articles support my personal expert medical
  7    opinion on the subject.         Does that make sense?
  8          Q.     Yes, but it doesn't answer my question.
  9    Okay?
 10          A.     Could you rephrase the question?
 11          Q.     Sure.    Tell me what one of your specific
 12    opinions is.
 13          A.     My -- one of my opinions is that Xarelto
 14    is a bad drug.       It's a bad drug because there's no
 15    laboratory assay that allows me or any other medical
 16    emergency physician to measure, monitor, evaluate
 17    the drug and, therefore, implement life-saving
 18    measures, as well as the lack of a reversal agent.
 19    That is my expert medical opinion.
 20          Q.     And which one of these articles supports
 21    that opinion?
 22          A.     I would have to read the article in-depth.
 23    You gave me names of authors.           There's several
 24    authors per article.        Each article adds and
 25    substantiates precisely what I'm saying, and this is

Golkow Technologies, Inc.                                           Page 16
Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 6 of 9
      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1          A.     Now, remember, the list is incomplete.
  2    Well, the first one -- this is just -- again, I'm
  3    just reading the title.         Looking at the title, I'm
  4    letting you know whether it's more likely than not
  5    that there's no testing available for Xarelto.
  6    Okay?
  7                 First one, Emergency -- excuse me --
  8    Emergency department cases where novel anticoagulant
  9    testing would have been useful.           Seems to me that
 10    probably, given the title, the inference is that a
 11    useful testing is not available.
 12                 The second one, Management of hemorrhage
 13    complicated by novel oral anticoagulant in the
 14    emergency department:        Case report from the
 15    Northwestern Emergency Medicine Residency.               I'll
 16    have to read the report.         You can't tell that.
 17                 Emergency department management of
 18    patients on novel oral anticoagulants.             Once again,
 19    I'd have to, at minimum, read the abstract.
 20                 Novel oral anticoagulants in the emergency
 21    room.    I'd have to read the abstract.
 22                 Okay.    Coagulation assessment with new
 23    generation oral anticoagulants.           Again, I'd have to
 24    read the abstract, but this implies coagulation
 25    assessment, and there's none for Xarelto.

Golkow Technologies, Inc.                                           Page 26
Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 7 of 9
      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1                 Measurement and reversal of the direct
  2    oral anticoagulants.        Again, I'd have to read the
  3    abstract, but there's no way to reverse Xarelto.
  4                 Reversal of anticoagulation and management
  5    of bleeding patients on anticoagulants.              Again, I'd
  6    have to read the abstract, but there's no reversal
  7    for Xarelto or monitoring.
  8                 Okay.    Bleeding with direct oral
  9    anticoagulants versus warfarin:           Clinical
 10    experience.      I'd have to read the abstract, but this
 11    one, for sure, would elucidate that there is no such
 12    thing such as PT/INR, which can be used to monitor,
 13    measure and evaluate coagulation status with
 14    Xarelto.
 15                 Management of bleeding with non-Vitamin K
 16    antagonist oral anticoagulants in the era of
 17    specific reversal agents.          Again, I'd have to read
 18    the abstract, but, as you know, there is no specific
 19    reversal for Xarelto to date.
 20                 Xarelto and intracranial hemorrhage after
 21    mild traumatic brain injuries:           A dangerous
 22    combination.      I'd have to read the abstracts.
 23                 Spontaneously reported hemorrhagic adverse
 24    events associated with Xarelto.           Again, I'd have to
 25    read the -- the abstract.

Golkow Technologies, Inc.                                           Page 27
Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 8 of 9
      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1          R E P O R T E R ' S        C E R T I F I C A T E
  2                 This transcript is valid only for a
  3    transcript accompanied by my original signature and
  4    original required seal on this page.
  5                 I, Leslie B. Doyle, Certified Court
  6    Reporter (LA Certificate #93096), in and for the
  7    State of Louisiana, as the officer before whom this
  8    testimony was taken, do hereby certify that GIANLUCA
  9    CERRI, M.D., FACEP, FAAEM, after having been duly
 10    sworn by me upon authority of R.S. 37:2554, did
 11    testify as herein before set forth in the foregoing
 12    314 pages; that this testimony was reported by me in
 13    the stenotype reporting method, was prepared and
 14    transcribed by me or under my personal direction and
 15    supervision, and is a true and correct transcript to
 16    the best of my ability and understanding; that the
 17    transcript has been prepared in compliance with
 18    transcript format guidelines required by statute or
 19    by rules of the board, that I have acted in
 20    compliance with the prohibition on contractual
 21    relationships, as defined by Louisiana Code of Civil
 22    Procedure Article 1434 and in rules and advisory
 23    opinions of the board.
 24                 I further certify that I am not related to
 25    counsel or to the parties herein, nor am I otherwise

Golkow Technologies, Inc.                                          Page 315
Case 2:14-md-02592-EEF-MBN Document 6559-4 Filed 05/23/17 Page 9 of 9
      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1    interested in the outcome of this matter.
  2                 Signed this ___ day of __________, 2016.
  3

  4

  5                  ______________________
  6                  LESLIE B. DOYLE, RPR, RMR, RDR

                     Certified Court Reporter
  7                  LA Certificate #93096
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

Golkow Technologies, Inc.                                          Page 316
